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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

  UNITED STATES OF AMERICA                        Criminal File No. 19-CR-141 (PJS/SER)

                       Plaintiff,
               v.                                     NOTICE OF WITHDRAWAL
                                                           OF COUNSEL
  CORNETT GOLDEN

                       Defendant.



       Please take notice that Aaron J. Morrison and Kristin K. Zinsmaster, previously appointed

as attorneys for Defendant, Cornett Golden, hereby withdraw as counsel in the above-captioned

matter. Defendant will continue to be represented by A.L. Brown, appointed on May 21, 2020

[ECF 73].



                                                 Respectfully submitted,

Dated: June 12, 2020                             /s/ Kristin K. Zinsmaster
                                                 Kristin K. Zinsmaster
                                                 JONES DAY
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                                                 /s/ Aaron J. Morrison
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